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                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                         EASTERN DIVISION

DANIEL BRYAN KELLEY,        )
as Personal Representative of the
                            )
Estate of Renee Nicole Kelley,
                            )
                            )
Plaintiff,                  )
                            )
v.                          ) Case No.:
                            )
                            ) Removed from the Circuit Court of
                            ) Talladega County, Alabama
                            ) Civil Action No.: 61-CV-2015-900444
DAVITA ACCOUNTABLE CARE )
SOLUTIONS, LLC d/b/a DAVITA )
SYLACAUGA DIALYSIS          )
CENTER, et al.,             )
                            )
DEFENDANTS.                 )


                           NOTICE OF REMOVAL


      COMES NOW Defendant, DVA Renal Healthcare, Inc. d/b/a Sylacauga

Dialysis, improperly designated in Plaintiff’s Complaint as “DaVita Accountable

Care Solutions, LLC d/b/a DaVita Sylacauga Dialysis Center”, and pursuant to 28

U.S.C. §§ 1332, 1441 and 1446, files this Notice of Removal of the foregoing cause

from the Circuit Court of Talladega County, Alabama, to the United States District

Court for the Northern District of Alabama, Eastern Division. As grounds for

removal, Defendant shows unto the Court the following:
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      1.     Plaintiff, Daniel Bryan Kelley, initiated this civil action against

Defendant on or about December 23, 2015, in the Circuit Court of Talladega County,

Alabama, Civil Action No. 61-CV-2015-900444. Pursuant to 28 U.S.C. § 1446(a),

copies of all pleadings, as well as copies of all process and other papers on file in the

record of the state court action, which are within the possession, custody and control

of Defendant, are attached herewith as Exhibit “1”.

      2.     Defendant files this Notice of Removal pursuant to 28 U.S.C. §§ 1441

and 1446, and asserts federal diversity of citizenship jurisdiction pursuant to 28

U.S.C. § 1332. This action could have originally been brought in this Court pursuant

to 28 U.S.C. § 1332. This Court has original jurisdiction over this civil action

pursuant to 28 U.S.C. § 1332(a)(1), as complete diversity of citizenship exists

between the Parties and the amount in controversy exceeds $75,000, exclusive of

interest and costs.

      3.     Pursuant to 28 U.S.C. § 1332(a)(1), complete diversity exists between

the parties properly joined and served in this Action. Pursuant to 28 U.S.C. §

1332(c)(2), Defendant asserts, upon information and belief, Plaintiff is a resident

and citizen of the State of Alabama. (Ex. 1, Doc. 2 at ¶¶ 1-3). Although incorrectly

named in the Complaint, for diversity purposes, DaVita Accountable Care Solutions,

LLC is a foreign company, organized and existing under the laws of the State of

Delaware, with a principal place of business in the City and County of Denver,


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Colorado. DaVita Accountable Care Solutions, LLC is owned and managed by its

sole member, Village Health DM, LLC. Village Health DM, LLC is a foreign

company, organized and existing under the laws of the State of Delaware, with a

principal place of business in the City and County of Denver, Colorado. Thus,

DaVita Accountable Care Solutions, LLC is a citizen of the States of Delaware and

Colorado for the purposes of diversity jurisdiction. See 28 U.S.C. § 1332(c)(1).

Should Plaintiff amend the Complaint to properly name DVA Renal Healthcare, Inc.

d/b/a Sylacauga Dialysis as the proper defendant, for diversity purposes, DVA Renal

Healthcare, Inc. is a foreign corporation, organized and existing under the laws of

the State of Tennessee, with a principal place of business in Williamson County,

Tennessee. Thus, DVA Renal Healthcare, Inc. is a citizen of the State of Tennessee

for the purposes of diversity jurisdiction. See 28 U.S.C. § 1332(c)(1). Pursuant to

28 U.S.C. § 1441(b)(1), the citizenship of fictitious defendants named in Plaintiff’s

Complaint “shall be disregarded” in determining whether this Action is removable

based on diversity jurisdiction. The only named and served defendant as of the filing

date of this Notice of Removal is DaVita Accountable Care Solutions, LLC, a non-

citizen of the State of Alabama, therefore complete diversity of citizenship exists.

      4.     Pursuant to 28 U.S.C. § 1332(a)(1), the matter in controversy exceeds

the sum or value of $75,000, exclusive of interest and costs. The longstanding

federal rule for determining the amount in controversy is to examine the plaintiff’s


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complaint. See, e.g., Lindsay v. American General Life & Accident Ins. Co., 133 F.

Supp. 2d 1271, 1275 (N.D. Ala. 2001) (citations omitted). Here, however, Plaintiff

does not specify in the Complaint the total amount of damages he seeks against

Defendant. The Eleventh Circuit precedent provides that, when a plaintiff makes an

unspecified damages demand in state court, “a removing defendant must prove by a

preponderance of the evidence that the amount in controversy more likely than not

exceeds the jurisdictional requirement.’” Roe v. Michelin N. Am., Inc., 613 F. 3d

1058, 1061 (11th Cir. 2010) (quoting Tapscott v. MS Dealer Service Corp., 77 F.3d

1353, 1357 (11th Cir. 1996)). In some cases, this burden will require the removing

defendant to provide additional evidence, but in other cases “it may be ‘facially

apparent’ from the pleading itself that the amount in controversy exceeds the

jurisdictional minimum, even when ‘the complaint does not claim a specific amount

of damages.’” Roe, 613 F. 3d at 1061 (quoting Pretka v. Kolter City Plaza II, Inc.,

608 F.3d 744, 754 (11th Cir. 2010) (citations omitted)).

      5.     The Eleventh Circuit Court of Appeals has stated that, if a defendant

alleges removability is facially apparent from the complaint, “the district court must

evaluate whether the complaint itself satisfies the defendant’s jurisdictional burden.”

Id. at 1061. The district court is not bound by the plaintiff’s representations, and

does not have to assume the plaintiff is best able to evaluate the amount of damages




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sought. 613 F. 3d at 1061 (citing Pretka v. Kolter City Plaza II, Inc., 608 F.3d 744,

771 (11th Cir. 2010)). The Eleventh Circuit Court of Appeals further stated:

      Eleventh Circuit precedent permits district courts to make
      "reasonable deductions, reasonable inferences, or other reasonable
      extrapolations" from the pleadings to determine whether it is
      facially apparent that a case is removable. Put simply, a district court
      need not "suspend reality or shelve common sense in determining
      whether the face of a complaint establishes the jurisdictional amount."
      Instead, courts may use their judicial experience and common sense in
      determining whether the case stated in a complaint meets federal
      jurisdictional requirements.

Id. at 1061-62 (citations omitted) (emphasis added). The rationale for this rule is in

part to prevent plaintiffs from defeating a court’s statutory right to hear a case

through artful pleading that does not specify the value of the claimed damages. Id.

at 1064.

      6.       Recent cases are helpful in determining the amount in controversy

where, as here, a plaintiff fails to make a specific damages demand in the complaint.

One such case explained the impact of amended 28 U.S.C. § 1446, stating “[w]hen

Congress enacted this most recent amendment to § 1446, it did not intend to require

the court to which the case is removed to do more than to exercise reasonable

judgment, based on the allegations in the complaint, and other undisputed facts.”

Smith v. State Farm Fire & Cas. Co., 868 F. Supp. 2d 1333, 1334 (N.D. Ala. 2012).

In Smith, the court went on to state that where the complaint does not contain an ad

damnum clause, “the court is allowed reasonable deductions and extrapolations.” Id.


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at 1335. The Smith court further stated “[t]his court is informed and verily believes”

Congress amended § 1446 “to slow down, if not to prevent,” the remand of diversity

cases “where there is no ab (sic) damnum clause, but where the parties and the court

know from their exercise of good sense and experience that the claim exceeds

$75,000.” 868 F. Supp. 2d at 1335. Perhaps more importantly, the Smith court stated

the following:

      The court is willing to go so far as to inform plaintiffs like Smith, who
      want to pursue claims against diverse parties in a state court seeking
      unspecified damages of various kinds, such as punitive damages and
      emotional distress, must in their complaint formally and expressly
      disclaim any entitlement to more than $74,999.99, and categorically
      state that plaintiff will never accept more. Otherwise, a plaintiff will
      find herself in a federal court, which is now saddled by Congress with
      a new and heavy burden.

Id. (emphasis added). Finally, the Smith court noted in a case such as this one, if the

defendant had waited for limited discovery in state court to prove the plaintiff’s

claim exceeded $75,000, the defendant would be facing a motion to remand for

untimely removal rather than for lack of subject-matter jurisdiction. Id. at 1334-35.

      7.     Plaintiff does not make a specific demand for damages in his

Complaint. Plaintiff further fails to disclaim the right to, or acceptance of, damages

exceeding $74,999.99. However, the preponderance of the evidence shows it is

facially apparent from the Complaint that the amount in controversy more likely than

not exceeds $75,000.



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      8.     In this wrongful death claim, Plaintiff asserts a claim against Defendant

under the Alabama Medical Liability Act. (Ex. 1, Doc. 2 at ¶ 4). Plaintiff asserts

Defendant’s employees breached the applicable standard of medical care owed to

the decedent, Renee Kelley, by failing to provide her with proper medical care and

that said breach proximately caused her death. (Id. at ¶ 17). More specifically,

Plaintiff claims that, during the decedent’s dialysis treatment with Defendant, the

decedent was administered doses of Epogen. (Id. at ¶¶ 7-8). Plaintiff claims

“aggressive treatment with Epogen make the patient significantly more susceptible

to heart problems or death.” (Id. at ¶ 9). Plaintiff alleges that on December 30, 2013,

the decedent was released from treatment by Defendant even though the decedent’s

blood pressure was 192/118, her pulse was 106 and she was experiencing shortness

of breath. (Id. at ¶ 11). Plaintiff claims the decedent was pronounced dead within

an hour and a half of being released from treatment, and the decedent’s death was

caused by ventricular fibrillation and electrolyte abnormalities. (Id. at ¶¶ 12-13).

Plaintiff claims Defendant breached the applicable standard of care by failing to: 1)

administer proper medication dosages, 2) monitor the decedent’s symptoms, and 3)

properly assess the decedent’s need for additional medical care, before she was

released from treatment. (Id. at ¶ 16). Consequently, Plaintiff seeks damages against

Defendant for the decedent’s wrongful death.




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      9.     When ascertaining the amount in controversy in a particular case, “state

law is relevant to this determination insofar as it defines the nature and extent of the

right plaintiff seeks to enforce. This includes applying state law rules regarding the

applicable measure of damages and the availability of special and punitive

damages.” Lindsay, 133 F. Supp. 2d at 1277. The goal of Alabama’s wrongful death

statute “is to prevent death, not to compensate for the loss of human life, which

Alabama believes possesses a value ‘beyond measure.’” Roe, 613 F.3d at 1065

(citations omitted). Consequently, a plaintiff in a wrongful death claim is limited to

the recovery of punitive damages only. Id. As the Roe court noted, “[t]his limitation,

however, does not mean that plaintiffs’ recoveries must be modest. In fact, the

Wrongful Death Act ‘attempts to preserve human life by making homicide

expensive.’” Id.

      10.    The Eleventh Circuit Court of Appeals set forth 5 factors to be

considered in calculating a damage award under Alabama’s Wrongful Death Act:

      (1) the finality of death, (2) the propriety of punishing the defendant,
      (3) whether the defendant could have prevented the victim's death, (4)
      how difficult it would have been for the defendant to have prevented
      the death, and (5) the public's interest in deterring others from engaging
      in conduct like the defendant's.

Id. (citing Tillis Trucking Co., Inc. v. Moses, 748 So. 2d 874, 889 (Ala. 1999)). The

court further stated “the worse the defendant’s conduct was, the greater the damages




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should be.” Roe, 613 F.3d at 1065 (citing Ala. Power Co. v. Turner, 575 So. 2d 551,

554-55 (Ala. 1991); A.P.J.I. 11A.28 (2d Ed.)).

      11.    Here, when analyzing the value of Plaintiff’s claim using judicial

experience and common sense, this Court can reasonably deduce or infer Plaintiff’s

claims as pled exceed the minimum jurisdictional requirement based on the above

factors. As to the first factor, the finality of the decedent’s death is considered based

on Alabama law that values human life “beyond measure.” See Roe, 613 F.3d at

1065-66. As to the second factor, there is nothing in the Complaint which suggests

punishing Defendant would be inappropriate. See Roe, 613 F.3d at 1066. With

regard to the third and fourth factors, this Court can also reasonably infer from

Plaintiff’s Complaint that he will argue Defendant could have easily prevented the

decedent’s death by administering proper dosages of Epogen, monitoring the

decedent’s symptoms during treatment, and assessing her need for additional

medical care before discharge based on her symptoms.

      12.    Finally, with regard to the fifth factor, courts have found the amount in

controversy requirement is met in wrongful death cases in which the plaintiff asserts

the defendant wantonly caused the wrongful death of a human. See, e.g. Roe v.

Michelin N. Am., Inc., 637 F. Supp. 2d 995, 998 (M.D. Ala. 2009) (holding amount

in controversy met where plaintiff asserts defendants wantonly caused loss of human

life because wanton conduct “involves a high degree of culpability, making the need


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for punishment and deterrence all the more exigent”), aff’d, 613 F.3d 1058 (11th Cir.

2010); Edwards v. G.A. Braun, Inc., 2013 U.S. Dist. LEXIS 24229, at *8-9, 2013

WL 656259 (S.D. Ala. Feb. 1, 2013) (holding it readily deducible from the complaint

that the amount in controversy exceeded $75,000 where action alleged the

defendants negligently and/or wantonly took human life); Marchant v. Mane, 2012

U.S. Dist. LEXIS 87158, *7-8, 2012 WL 2389331 (M.D. Ala. June 25, 2012)

(holding analysis of Roe factors and application of judicial experience and common

sense support finding it was readily apparent the plaintiff’s claim as pled more likely

than not exceeded the minimum jurisdictional requirement where it was alleged the

defendants negligently and/or wantonly allowed a pack of known and vicious dogs

to go at large and maul a minor child to death); and Nelson v. Whirlpool Corp., 668

F. Supp. 2d 1368, 1375-76 (S.D. Ala. 2009) (holding “[f]ew things would defy

common sense more completely than insisting that a suit for wantonly killing a

human being . . . does not place more than $75,000 in controversy.”).

      13.    Although Plaintiff’s Complaint does not specifically indicate whether

he intends to allege Defendant wantonly caused the decedent’s death, there is

information contained in the Complaint from which this Honorable Court could

reasonably deduce or infer Plaintiff will likely assert Defendant wantonly caused the

loss of human life. For example, in describing fictitious party defendants, Plaintiff

references “[t]hose corporations, firms, entities or individuals responsible for the


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negligence and/or wantonness complained of herein or who in any way contributed

to the death of Renee Nicole Kelley.” (Ex. 1, Doc. 2 at ¶ 6; see also Ex. 1, Doc. 2

at ¶ 2). Furthermore, this Court could reasonably infer or conclude Plaintiff will

likely argue the jury should increase its punishment of Defendant based on its size

and national scope in order to have a deterring effect on a large corporate entity.

Consequently, if liability and damages are proven according to the law controlling

the theories set forth in Plaintiff’s Complaint, a jury could reasonably return a verdict

in excess of the $75,000 jurisdictional minimum.

      14.    Defendant does not admit or contend it is liable to Plaintiff, and does

not admit or contend Plaintiff’s damages necessarily exceed $75,000, exclusive of

interest and costs. Instead, Defendant reasonably believes that, based upon the legal

theories asserted in the Complaint and the applicable Alabama law governing

damages under those theories, Plaintiff will seek and ask a jury to return a verdict in

an amount, sum, or value in excess of $75,000, exclusive of interest and costs.

      15.    Furthermore, Defendant cannot be deprived of its right to remove this

cause by Plaintiff’s failure to demand a specific monetary figure in the Complaint.

See Steele v. Underwriter’s Adjusting Co., Inc., 649 F. Supp. 1414 (M.D. Ala. 1986);

see also Roe, 613 F.3d at 1064 (holding “when a district court can determine, relying

on its judicial experience and common sense, that a claim satisfies the amount-in-

controversy requirements, it need not give credence to a plaintiff's representation


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that the value of the claim is indeterminate. Otherwise, a defendant could wrongly

be denied the removal to which it is entitled.”). If Plaintiff disputes the amount in

controversy exceeds the jurisdictional requisite, Defendant requests leave to conduct

discovery to determine the extent of Plaintiff’s claim to damages or, in the

alternative, Defendant requests this Court require Plaintiff to “formally and

expressly disclaim any entitlement to more than $74,999.99, and categorically state

Plaintiff will never accept more”. See Smith, 868 F. Supp. 2d at 1334.

      16.    This Notice of Removal is filed in the United States District Court for

the Northern District of Alabama, Eastern Division, within the time allowed by law

for the removal of actions to the United States District Courts. Defendant was served

with the Summons and Complaint on or about January 12, 2016. (Ex. 1, Doc. 4).

This Notice of Removal is timely because it is filed “within 30 days after the receipt

by the defendant, through service or otherwise, of a copy of the initial pleading

setting forth the claim for relief upon which such action or proceeding is based.” 28

U.S.C. § 1446(b)(1). Accordingly, the prerequisites for removal pursuant to 28

U.S.C. § 1441 are met.

      17.    Without waiver of any defenses or objections including, but not limited

to, improper process, improper service of process, improper venue, and lack of

personal jurisdiction, Defendant submits this Notice of Removal.




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      18.   Pursuant to 28 U.S.C. § 1446(d), Defendant shows a copy of this Notice

of Removal is being filed with the Clerk of the Circuit Court of Talladega County,

Alabama. Further, Defendant represents to this Court that a copy of this Notice of

Removal is also being served upon counsel for Plaintiff.

                                      Respectfully submitted,

                                      s/ Lea Richmond, IV
                                      Lea Richmond, IV (asb-8479-l74r)
                                      Carrie H. Bates (asb-4638-e59h)
                                      Attorneys for Defendant

OF COUNSEL:

CARR ALLISON
100 Vestavia Parkway
Birmingham, Alabama 35216
Telephone: (205) 822-2006
Facsimile: (205) 822-2057
E-mail:     lrichmond@carrallison.com
            cbates@carrallison.com




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                          CERTIFICATE OF SERVICE

      I hereby certify that on this the 10th day of February, 2016, the foregoing

document was electronically filed with the Clerk of Court using the CM/ECF

system, which will send notification of said filing to the following:

F. Page Gamble
F. PAGE GAMBLE, P.C.
300 Vestavia Parkway
Suite 2300
Birmingham, Alabama 35216
Telephone: (205) 795-2078
E-Mail:      page@gamblelaw.net
Attorney for Plaintiff


                                       s/ Lea Richmond, IV
                                       OF COUNSEL




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